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                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division



CATHERINE AREAS,

                     Plaintiff,

V.                                                               Action No. 2:18cv97

PHYAMERICA GOVERNMENT SERVICES,INC.,

                     Defendant.



                                  OPINION AND ORDER


       This matter comes before the Court on plaintiff Catherine Arbas's ("Arbas") unopposed

motion for summaryjudgment regarding her claim ofretaliation in violation ofTitle VII,42 U.S.C,

§ 2000e-3, along with a supporting memorandum and a declaration signed by Arbas under penalty

of perjury ("Dec."). ECF Nos. 25, 26, 26-1. Defendant PhyAmerica Government Services, Inc.

("PhyAmerica"), filed a response "confirm[ing] that it will not be filing any opposition to or

otherwise opposing" Arbas's motion for summary judgment. ECF No. 27. The parties have

consented to the jurisdiction of the undersigned. ECF No. 15. For the reasons stated below, the

Court GRANTS IN PART and DENIES IN PART the motion for summary judgment.



                             L      FACTUAL BACKGROUND

       Arbas was an art therapist employed by PhyAmerica and contracted to work at the Womak

Army Medical Center for the United States Department of the Army ("Army"). ECF No. 26-1,

Dec. ^3. On October 30, 2016, Arbas reported to her direct superior, LCDR Joseph Newcomb

("Newcomb"),that she was sexually harassed the previous day by Dr. Zambrano, an Army doctor
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in a superior position relative to Arbas. Id. at   4-6. After that report, Arbas was subject to

"constant hostility" from Army superiors and supervisors, including: reduced hours; interference

with her art therapy services; ignoring her presence and attempts to converse with supervisors;

condescending comments from supervisors; and unmanageable schedule demands. Id. at ^ 7.

       In early August 2017, Arbas informed Newcomb, Commander Klimp, and another

supervisor that she was working in a hostile work environment as a result of reporting Dr.

Zambrano. Id. at ^ 8. On August 9,2017',PhyAmerica reduced Arbas's work from 40 to 25 hours

per week. Id. at ^ 9. On August 17 and 28,2017,Newcomb refused to sign time sheets for Arbas;

she could not be paid by PhyAmerica unless her timesheets were signed by the Army. Id. at HU 10,

13. Commander Klimp also failed to respond to her requests for a copy of her "sexual harassment

paperwork" and to move forward with any investigation of that matter. Id. aX^W.

       On September 6,2017, Arbas reported these issues with the Army to Valerie Pichardo and

Brandon Ross, supervisors at PhyAmerica. Id. at H 14. She also contacted Tausha Carter, another

PhyAmerica supervisor, on September 8,2017,regarding the sexual harassment report and Arbas's

request for help with the investigation, but Carter "strongly recommended that [Arbas] not make

any trouble for [the] Army if[she] wanted to keep [her]job." Id.       15. Arbas responded that

she would file an EEOC complaint as a result of the actions taken against her since her sexual

harassment report. Id. PhyAmerica terminated Arbas on September 29, 2017, claiming that she

committed a HIPAA violation, which Arbas denies. Id. at      16-19.

       "After being subject to the hostile work environment," Arbas experienced a variety of

physical and emotional changes, including almost daily nightmares, depression, paranoia, an



^ Arbas's declaration states 2018, rather than 2017, but this appears to be a typographical error,
because the related paragraphs describe events in August of 2017 and Arbas was terminated in
September of 2017.
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"anxiety level . . . near panic most days," and a need to wear a jaw protector to prevent anxiety-

related teeth-grinding. Id. at H 28. She sees a doctor for her stress and emotional issues, and

experienced a decreased appetite that led to a weight loss of ten pounds. Id.



                                       II.     ANALYSIS


       Pursuant to Rule 56(a) of the Federal Rules of Civil Procedure, the court "shall grant

summary judgment ifthe movant shows that there is no genuine dispute as to any material fact and

the movant is entitled to judgment as a matter of law." "The movant has the burden of showing

that there is no genuine issue of fact," and "a party opposing a properly supported motion for

summaryjudgment may not rest upon mere allegation or denials of his pleading, but must set forth

specific facts showing that there is a genuine issue for trial." Anderson v. Liberty Lobby, Inc.,^11

U.S. 242, 256 (1986). "[I]n ruling on a motion for summary judgment, the judge must view the

evidence presented through the prism of the substantive evidentiary burden." Id. at 254.

A.      There is no genuine dispute of material fact regarding PhyAmerica's liability for
        violation of Title VII.


        Under Title VII of the Civil Rights Act, it

        shall be an unlawful employment practice for an employer to discriminate against
        any of his employees . .. because he has opposed any practice made an unlawful
        employment practice by this subchapter,or because he has made a charge, testified,
        assisted, or participated in any manner in an investigation, proceeding, or hearing
        under this subchapter.

42 U.S.C. § 2000e-3(a).

        "In order to establish a prima facie case of retaliation [in violation of 42 U.S.C. § 2000e-

3(a)], a plaintiff must prove three elements: (1) that she engaged in a protected activity;(2) that

her employer took an adverse employment action against her; and (3)that there was a causal link

between the two events." E.E.O.C. v. Navy Fed. Credit Union, 424 F.3d 397, 405—06 (4th Cir.
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2005). Once the plaintiff carries her initial burden ofestablishing a primafacie case ofretaliation,

the burden shifts to the defendant, who is obliged to articulate a legitimate, non-retaliatory

justification for the adverse employment action." Id. at 405. "Ifthe defendant carries this burden,

the onus is on the plaintiff to then demonstrate that the non-retaliatory reason advanced by the

defendant is a mere pretext." Id.

        Under the "opposition" provision in 42 U.S.C. § 2000e-3(a), "an employee is protected

when she opposes not only . . . employment actions actually unlawful under Title VII but also

employment actions [she] reasonably believes to be unlawful, and the Title VII violation to which

the oppositional communication is directed may be complete,or it may be in progress." DeMasters

V. Carillon Clinic^ 796 F.3d 409,417(4th Cir. 2015)(citations and quotation marks omitted). The

"threshold for oppositional conduct is not onerous. Instead,'[wjhen an employee communicates

to her employer a beliefthat the employer has engaged in... a form ofemployment discrimination,

that communication virtually always constitutes the employee's opposition to the activity.'" Id.

(quoting Crawford v. Metro Gov't of Nashville and Davidson Cty., 555 U.S. 271, 276 (2009)).

Arbas has established this first element of her prima facie case, because she opposed Dr.

Zambrano's sexual harassment and the ensuing hostile work environment by reporting those

conditions to her Army supervisors and to PhyAmerica.

        Arbas also established the second element of her primafacie case, because PhyAmerica

significantly reduced her hours and ultimately terminated her. Both of those actions are adverse

employment actions. See, e.g., E.E.O.C. v. R&R Ventures, 244 F.3d 334, 341 (4th Cir. 2001)

(noting that a reduction in hours was an adverse employment action in a retaliation claim).

        Finally, Arbas established the third factor, because the adverse employment actions were

causally connected to her reports of activities in violation of Title VII. "Title VII retaliation claims
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must be proved according to traditional principles of but-for causation," which "requires proofthat

the unlawful retaliation would not have occurred in the absence of the alleged wrongful action or

actions of the employer." Univ. of Texas Sw. Med. Or. v. Nassar, 570 U.S. 338, 360 (2013).

Arbas reported the hostile environment and lack of investigation into her sexual harassment claim

to PhyAmerica on September 6 and 8, 2017, and was fired twenty days later, on September 29.

Such close temporal proximity is sufficient to establish but-for causation in retaliation cases. See,

e.g., Taylor v. Republic Servs., Inc., 968 F. Supp. 2d 768, 798 (E.D. Va. 2013)(concluding that

causation was established when 42 days elapsed between an employee's protected activity and

termination); King v. Rumsfeld, 328 F.3d 145, 151 n.5 (4th Cir. 2003)(finding that employee

established a primafacie case of retaliation when two months and two weeks elapsed between the

filing of an EEO complaint and termination).

       Accordingly, Arbas established her primafacie case ofretaliation in violation of Title VII.

PhyAmerica has not responded to this prima facie case with a legitimate, non-retaliatory

justification for the adverse employment action. There is no dispute of material fact regarding

PhyAmerica's liability for violating Title VII, and Arbas's motion for summary judgment is

granted with respect to liability.

B.     Arbas is entitled to damages for PhyAmerica's violation of Title VII.

       Based on Arbas's declaration, the Court finds that she is entitled to backpay and

compensatory damages, but is not entitled to front pay.

       1.      Backpay

       "Title VII provides prevailing employees the amount oflost wages,or back pay,that would

have accrued from the time of the wrongful discharge through the time when the court might

reinstate the employee." Taylor, 968 F. Supp. 2d at 801 (citation and quotation marks omitted).
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A back pay award is measured against the dual purposes of Title VII: "first, the elimination of
employment discrimination and second, the restoration of persons aggrieved to the situation they
would have occupied were it not for the unlawful discrimination." Id. (citation and quotation
marks omitted), "[I]n the case ofa plaintiff who was unlawfully discharged, like the plaintiff here,
the claimant's duty to mitigate damages requires reasonable diligent efforts to seek and accept new
employment substantially equivalent to that from which he was discharged." Id. (citation and
quotation marks omitted). In addition, "[i]nterim earnings or amounts earnable with reasonable
diligence by the person or persons discriminated against shall operate to reduce the back pay
otherwise allowable." 42 U.S.C. § 2000e-5(g)(l).

        Here, Arbas has attempted to mitigate her damages by applying for art therapist positions
at a variety of private and government facilities, Dec.125. Her declaration includes a sample of
nine such positions and states that she has "made numerous attempts to obtain employment." Id,
 However, she has remained unemployed since PhyAmerica terminated her. Id. at 26. Arbas
 earned $32.27 per hour, plus benefits, under her contract with PhyAmerica, and worked 40 hours
 per week. Id. at ^ 30(a). Between the date of her termination and the filing of her motion for
 summary judgment, 74 weeks elapsed, during which time she would have earned $95,519.12 in
 income and $19,103.84 in benefits had she remained employed by PhyAmerica. Id. at 130(a),(b).
 Her declaration, and the lack of any opposition, are sufficient to support an award of these
 damages.^



 ^ Arbas has not requested an award of prejudgment interest as a component of her backpay award,
 so the Court declines to exercise its discretion to award prejudgment interest. Mohammed v. Cent.
  Driving Mini Storage, Inc., 128 F. Supp. 3d 932,949(E.D. Va. 2015)("P«ment interest lies
  within the sound discretion of the Court.");     also Loeffler v. Frank, 486 U.S. 549, 557-58 n.6
 (1988)(noting that "Title VII authorizes prejudgment interest as part of the backpay remedy in
  suits against private employers," and courts have "broad equitable powers" regarding such
  components of compensation).
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       2.     Compensatory damages for emotional distress

       In a Title VII retaliation case,"a plaintiffs testimony, standing alone,can support an award

of compensatory damages for emotional distress" when that testimony "establish[es] that the

plaintiffsuffered demonstrable emotional distress, which must be sufficiently articulated." Bryant

V. Aiken Reg'I Med. Centers Inc., 333 F.3d 536, 546-47 (4th Cir. 2003)(citation and quotation
marks omitted). The plaintiffs "testimony cannot rely on conclusory statements that the plaintiff

suffered emotional distress or the mere fact that the plaintiff was wronged," but must instead

"indicate with specificity how [the plaintiffs] alleged distress manifested itself," and "show a

causal connection between the violation and her emotional distress." Id. at 547.

       For example, a Title VII plaintiffs testimony that "she was 'embarrassed, frustrated, and

angry,''very disgusted,' and that she 'didn't feel very good about coming to work,"'and "that this

distress inflicted a series of specific physical ailments on her: 'frequent headaches, insomnia,

irregular menstrual cycles, nausea, [and] vomiting,'" was sufficient to sustain a jury verdict

awarding $50,000.00 in emotional damages. Id, The award was sustained despite the plaintiff not

seeking medical attention for her physical symptoms,because the plaintiffexplained that she relied

on her faith and family to handle those symptoms. Id.\ see also Homesley v. Freightliner Corp.,

61 F. App'x 105, 116-17(4th Cir. 2003)(upholding $200,000.00 compensatory damages verdict

in a Title VII hostile work environment claim, where the plaintiffs psychiatrist testified that

plaintiffs depression and post-traumatic stress syndrome were caused by her co-worker's sexual

assaults, the plaintiffs illnesses were severe and physically debilitating and had a devastating

effect on her weight, her family, and her social life, and she was on medical leave for

approximately twenty-four weeks over a two and one-half year period and required major doses

of psychotropic medications).
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       Here, Arbas submitted a declaration describing the physical and emotional changes she
endured after being subjected to the hostile work environment that she reported to the Army and
PhyAmerica. Before the events with Dr. Zambrano, Arbas was a "positive, open-minded, laid
back,[] hopeful person" who "slept well, stayed in touch with friends, was always engaged with
the people around [her], and did not feel depressed." Dec.^ 27. However,"[ajfter being subject
to the hostile work environment," Arbas has nightmares almost every night, she feels depressed

and []frequently tearful for seemingly no reason," and she has been "on edge and paranoid," with
an "anxiety level... near panic most days." Id. at ^ 28. She'no longer sleep[s] well and must
wear a jaw protector to keep from grinding [her] teeth in [her] sleep, which is a sleep behavior
related to [her] anxiety." Id. She sees a doctor "to help cope with [her] stress and emotional
issues." Id. She has headaches more frequently than she used to, and her appetite "significantly
decreased resulting in a loss in weight of approximately 10 pounds." Id.
        Arbas's statement regarding the emotional and physical changes she experienced following
her termination from PhyAmerica, and the lack of any opposition by PhyAmerica, are sufficient
to support her request for compensatory damages in the amount of $50,000.00. See, e.g., Bryant,
333 F.3d at 546-47 (affirming $50,000.00 compensatory damages award based on Title VII
 plaintiffs testimony regarding her emotional distress,such feeling frustrated,disgusted,and angry,
 as well as her physical symptoms, including headaches and insomnia).
        3.     Front pay

        In Title VII cases,"front pay is simply money awarded for lost compensation during the
 period between judgment and reinstatement or in lieu of reinstatement." Pollard v. E.I. du Font
 de Nemours & Co., 532 U.S. 843, 846(2001). "[W]hen an appropriate position for the plaintiff is
 not immediately available without displacing an incumbent employee, courts have ordered
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reinstatement upon the opening of such a position and have ordered front pay to be paid until

reinstatement occurs," but where "reinstatement is not viable because of continuing hostility

between the plaintiffand the employer or its workers,or because of psychological injuries suffered

by the plaintiff as a result of the discrimination, courts have ordered front pay as a substitute for

reinstatement." Id.


       Front pay is entrusted to a court's discretion; it is "designed to place a plaintiff in the

financial position she would have been in had she been reinstated, but such an award should be

granted sparingly because it could result in an unfair windfall." Taylor, 968 F. Supp. 2d at 802

(citation and quotation marks omitted); see also Loveless v. John's Ford, Inc., 232 F. App'x 229,

237-38 (4th Cir. 2007)(concluding, in an ADEA case cited in Taylor, that the district court did

not abuse its discretion by denying front pay after considering "evidence that [the plaintiff] had

been less than diligent in attempting to secure replacement employment," where the plaintiff

sought employment for six months after his discharge,then did not seek any work for the following

four months, and thereafter sought employment once a month). "Because front pay necessarily

involves speculation as to future events, the Court must judiciously scrutinize the record to

determine whether future events are sufficiently predictable to justify such an award." Taylor,968

F. Supp. 2d at 802(citation and quotation marks omitted).

       "Although [t]he Fourth Circuit has not specifically enumerated a list of factors to consider

in deciding to award front pay[,][ojther courts have considered the plaintiffs prospect ofobtaining

comparable employment;the time period ofthe award; whether the plaintiff intended to work; and

whether liquidated damages have been awarded." Mohammed v. Cent. Driving Mini Storage, Inc.,

128 F. Supp. 3d 932, 948 (E.D. Va. 2015)(citation and quotation marks omitted). Other circuits

have clarified that the burden is on the plaintiffrequesting front pay to "present evidence in support
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of the award." Franchina v. City ofProvidence, 881 F.3d 32, 57(1st Cir. 2018).

       Arbas requests $33,560.20 in damages,corresponding to six months oflost income because

she does not "reasonably expect" to secure employment before that time. Dec.^ 30(c). However,

Arbas has not explained her estimation of her job prospects, and she has not provided more than a

cursory explanation ofherjob search process to date. Without this information,the Court is unable
to evaluate her intention to work or her prospect of obtaining comparable employment.

Accordingly, the Court denies her request for front pay. See, e.g., Mohammed, 128 F. Supp. 3d at

956 (denying request for front pay when the record contained an "insufficient basis" for such an
award); Loveless, 232 F. App'x at 237-38 (affirming denial of front pay when employee sought
employment for several months but then failed to make further employment inquiries for four
additional months and only once a month thereafter, when median duration of unemployment in

the economy was approximately 10 weeks, indicating employment was generally available).


                                    III.    CONCLUSION


       For the foregoing reasons, Arbas's unopposed motion for summaryjudgment,ECF No.25,

is GRANTED IN PART and DENIED IN PART. The motion for summary judgment is

GRANTED with respect to a finding that PhyAmerica is liable to Arbas for violating Title VII,

and the Court awards damages to Arbas in the amount of $114,622.96 for back pay and benefits

and $50,000.00 for compensatory damages, together with post-judgment interest. See Hylind v.

Xerox Corp., 632 F. App'x 114, 116 (4th Cir. 2015) (affirming post-judgment interest on a
compensatory damages award in Title VII retaliation case). Post-judgment interest shall accrue at

the rate specified in 28 U.S.C. § 1961(a). Costs will be taxed by the Clerk following entry of




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judgment.^ 28U.S.C. § 1920.

       The motion for summary judgment is DENIED with respect to Arbas's demand for front

pay.



                                                            Robert J. Krask
                                                            United States Magistrate Judge
                                                                Robert J. Krask
                                                  UNITED STATES MAGISTRATE JUDGE
Norfolk, Virginia
April 4,2019




^ Pursuant to 42 U.S.C. § 2000e-5(k), attorneys' fees may be allowed as part of the prevailing
party's costs. However, Arbas has not requested a separate amount for attorneys' fees in her
summary judgment motion, so attorneys' fees are not included in the amount awarded herein.

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